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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Harrisonburg Division


UNITED STATES OF AMERICA                       )
                                               )       Criminal Action No. 5:09cr00032-2
v.                                             )       Civil Action No. 5:14cv80731
                                               )
MOISES MOREJON,                                )       By:    Joel C. Hoppe
     Defendant.                                )       United States Magistrate Judge


                              REPORT AND RECOMMENDATION

         Moises Morejon, a federal inmate proceeding pro se, filed a petition under 28 U.S.C. §

2255 to vacate, set aside, or correct his sentence (“Petition”). ECF No. 95. 1 The Government

filed a motion to dismiss to which Morejon has responded. The matter is before me by referral

under 28 U.S.C. § 636(b)(1)(B). ECF No. 107. Having considered the parties’ filings, the

criminal case record, and the applicable law, I find that Morejon’s Petition is untimely. I also

find that Morejon knowingly and voluntarily waived his right to collaterally attack his sentence

when he pled guilty with a written agreement. Accordingly, I recommend that the presiding

District Judge grant the motion to dismiss.

                                       I. Standard of Review

         A prisoner claiming the right to be released from a federal sentence must show that the

district court did not have jurisdiction to impose the sentence; the sentence was imposed in

violation of the Constitution or laws of the United States; the sentence exceeded the maximum

penalty allowed by law; or the sentence is otherwise subject to collateral attack. See 28 U.S.C. §

2255(a)–(b); Michel v. United States, Nos. 5:06cr41, 5:10cv80281, 2011 WL 767389, at *1

(W.D. Va. Feb. 25, 2011) (Conrad, C.J.). The prisoner ultimately must prove his grounds for

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    ECF numbers refer to entries on the criminal case docket.

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relief by a preponderance of the evidence. United States v. White, 366 F.3d 291, 297 (4th Cir.

2004).

         On the Government’s motion to dismiss, however, the court determines only whether

“the files and records of the case conclusively show that the prisoner is entitled to no relief.” 28

U.S.C. § 2255(b); accord White, 366 F.3d at 296–97. Summary dismissal is not appropriate

when the prisoner alleges facts that, if true, would entitle him to relief on his particular claim.

See White, 366 F.3d at 297. The court may not reject the prisoner’s factual allegations unless

they are “palpably incredible” or “patently frivolous or false” when viewed against the whole

record. Id. The court does not weigh evidence, consider credibility, or resolve disputed issues—it

decides only whether the prisoner’s filings state a claim for relief under section 2255. See United

States v. Stokes, 112 F. App’x 905, 906 (4th Cir. 2004) (citing Raines v. United States, 423 F.2d

526, 529 (4th Cir. 1970)).

                                           II. Background

         A grand jury sitting in the Western District of Virginia indicted Morejon and a

codefendant on August 20, 2009. See Indictment, ECF No. 13. Morejon was charged in three of

the four counts: (1) knowingly and intentionally conspiring to distribute at least 500 grams of a

mixture or substance containing a detectable amount of methamphetamine, in violation of 21

U.S.C. §§ 841(a)(1), and 841(b)(1)(A), 846; (2) knowingly and intentionally possessing with

intent to distribute at least 50 grams of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1)

and 841(b)(1)(A); and (3) knowingly possessing and brandishing a firearm in furtherance of the

federal drug-trafficking crime charged in Count Two, in violation of 18 U.S.C. § 924(c). See id.

at 1–2. The Court appointed counsel to represent Morejon on August 24, 2009. The same day,




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the Government filed an Information under 21 U.S.C. § 851 asserting that the State of Florida

had convicted Morejon of two “felony drug offenses” in 1997. See ECF No. 19.

        Morejon and the Government entered into a written plea agreement. See Plea Agmt. 1,

ECF No. 49. Morejon would plead guilty to the drug conspiracy charged in Count One and to

knowingly possessing a firearm in furtherance of a federal drug-trafficking crime, a lesser-

included offense of Count Three. See id. In exchange, the Government would move at sentencing

to dismiss Count Two. See id. at 2. The Government also agreed that, if Morejon complied with

his obligations under the agreement, it would drop one of his prior drug convictions and “agree

not to seek additional enhancements of [his] penalty range.” 2 Id. at 2–3.

       On October 21, 2009, Morejon appeared with counsel for a change-of-plea hearing

before United States District Judge Samuel G. Wilson. See generally Plea Hr’g Tr. 1–27, ECF

No. 86. Morejon said that he intended to plead guilty to conspiring to distribute at least 500

2
 Morejon acknowledged that the Government had filed an Information under 21 U.S.C. § 851
“subjecting [him] to an increased penalty” based on two prior convictions for “qualifying felony
drug offenses.” Plea Agmt. 3. He also stipulated that he had been convicted of selling cocaine
and possessing cocaine in violation of Florida law.
The mandatory minimum and potential maximum penalties for the drug conspiracy charged in
Count One, as described in the plea agreement, reflected statutory enhancements triggered by
these two prior convictions for felony drug offenses:
       Count 1 charges me with conspiring to distribute a controlled substance (500
       grams or more of a mixture or substance containing methamphetamine), in
       violation of 21 U.S.C. §§ 846 [and] 841(b)(1)(A). The maximum statutory penalty
       is a fine of $8,000,000 and/or imprisonment for a term of life, plus a term of
       supervised release. There is a mandatory minimum sentence of imprisonment for a
       term of life.
Id. at 1 (emphasis added). The agreement did not set out the potential penalties for that offense
if Morejon had only one qualifying prior conviction. See id. Before accepting Morejon’s guilty
plea, however, the District Judge made clear that, even with one prior felony drug conviction,
Morejon faced “a mandatory . . . period of not less than 20 years, up to life” in prison if
convicted on Count One alone. Plea Hr’g Tr. 18, ECF No. 86; see also id. at 3, 6–8, 15–18, 26–
27. Morejon testified that he understood the elements of the offense charged in Count One and
“all the possible penalties” he faced if convicted of that offense given his past felony-drug
convictions. See id. at 15–18, 19, 24.

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grams of a mixture or substance containing a detectable amount of methamphetamine, and to

knowingly possessing a firearm in furtherance of a federal drug-trafficking crime. See id. at 15–

21, 25–26. Judge Wilson asked Morejon if he understood the terms of his written plea

agreement, the elements of the offenses charged in Count One and Count Three, the mandatory

minimum and maximum penalties if convicted, and all of the rights he was giving up by

pleading under the agreement. See generally id. at 13–25. Morejon testified that he understood

the Court’s admonishments and wanted to plead guilty. See generally id. at 13–27. Judge

Wilson accepted Morejon’s pleas of guilty to the drug conspiracy charged in Count One and to

the lesser-included firearm offense charged in Count Three. Id. at 26–27.

       On December 28, 2009, the Government filed an amended section 851 Information

listing only Morejon’s prior conviction for selling cocaine. ECF No. 60. On January 5, 2010,

Judge Wilson sentenced Morejon to twenty-five years in prison, which was the statutory

minimum. 3 See Judgment 1, ECF No. 62; Plea Hr’g Tr. 21 (“The Court: So under your plea

agreement, you understand, essentially that unless a substantial assistance motion is filed, that

you will be facing no less than 25 years incarceration?”). Count Two was dismissed per the

agreement.

       The Court entered the judgment of conviction on January 6, 2010, and Morejon timely

filed a pro se notice of appeal. ECF No. 65 (Jan. 12, 2010). The United States Court of Appeals

for the Fourth Circuit dismissed the appeal on July 2, 2010. See ECF Nos. 89, 90. The judgment

became final ninety days later, on September 30, 2010. See United States v. Scott, No. 2:04cr9,

2010 WL 1490361, at *6 (W.D. Va. Apr. 14, 2010) (when a defendant appeals his conviction


3
  Judge Wilson sentenced Morejon to imprisonment for twenty years on Count One and five
years on Count Three, to be served consecutively as required under 18 U.S.C. § 924(c)(1)(A)
(2006). See Judgment 1-2.

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but the appeal is dismissed, the judgment becomes final when his “opportunity to pursue a writ

of certiorari expire[s], ninety days after” dismissal).

       Morejon filed his Petition on April 22, 2014. 4 He “challeng[es] the length of his

confinement in light of the” Supreme Court’s decisions in Alleyne v. United States, ---U.S. ---,

133 S. Ct. 2151 (June 17, 2013), and Descamps v. United States, --- U.S. ---, 133 S. Ct. 2276

(June 20, 2013). Pet. 3, ECF No. 95. The Government moved to dismiss the Petition on May 29,

2014, ECF No. 99, and Morejon responded on July 14, 2014, ECF No. 106. The motion to

dismiss is ripe for review and can be resolved on the existing record. See 28 U.S.C. § 2255(b)

(the district court may dismiss a 2255 motion without an evidentiary hearing if “the motion and

the files and records of the case conclusively show that the prisoner is entitled to no relief”);

United States v. Ray, 547 F. App’x 343, 345 (4th Cir. 2013) (per curiam) (noting that an

evidentiary hearing is required if the movant presents a “colorable” claim for relief “showing

disputed facts beyond the record or when a credibility determination is necessary in order to

resolve the issue” (citing United States v. Witherspoon, 231 F.3d 923, 926–27 (4th Cir. 2000)).

                                           III. Discussion

       Morejon challenges his twenty-year prison sentence for conspiring to distribute at least

500 grams of a mixture or substance containing methamphetamine, the offense charged in Count

One. He argues that this sentence is unlawful because the Court, as opposed to a jury, determined

the drug weight that triggered a mandatory minimum sentence under 21 U.S.C. § 841(b)(1)(A)

(2006). See Pet. 7–9 (citing Alleyne, 133 S. Ct. 2151). He also argues that his state-court

conviction for selling cocaine “was an illegal/invalid predicate” that “improperly enhanced” his


4
 A prisoner’s 2255 motion is “filed” on the date he delivered the document to prison officials for
mailing, rather than the date on which the district court received it. United States v. Burl, 81 F.
App’x 443 (4th Cir. 2003) (per curiam).

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mandatory minimum sentence under 21 U.S.C. §§ 841 and 851. See id. at 10–13 (citing

Descamps, 133 S. Ct. 2276). The Government responds that Morejon’s motion is untimely and

that he knowingly and voluntarily waived his right to collaterally attack his sentence under the

terms of his written plea agreement. See Mot. to Dismiss 4–6, 6–7.

A.     Timeliness

       A federal prisoner must file his 2255 petition within one year of the latest of four dates:

       (1)    the date on which the judgment of conviction becomes final;
       (2)    the date on which the impediment to making a motion created by
       governmental action in violation of the Constitution or laws of the United States
       is removed, if the movant was prevented from making a motion by such
       governmental action;
       (3)    the date on which the right asserted was initially recognized by the
       Supreme Court, if that right has been newly recognized by the Supreme Court and
       made retroactively applicable to cases on collateral review; or
       (4)    the date on which the facts supporting the claim or claims presented could
       have been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f)(1)–(4). The parties agree that Morejon’s petition is untimely under

subsection (f)(1) because he filed several years after his convictions became final. See Pet. 3;

Mot. to Dismiss 4–6. They also agree that subsections (f)(2) and (f)(4) do not apply in this case.

See id. Morejon argues that his petition is timely under subsection (f)(3) because he filed less

than one year after Alleyne and Descamps “initially recognized” the rights asserted in his petition

See Pet. 3.

       For Morejon’s petition to be timely, he must show that (1) the Supreme Court recognized

a new right or rule, (2) it has been made retroactively applicable to cases on collateral review,

and (3) he filed his petition within one year of the date on which the Supreme Court recognized

the right or rule. 5 United States v. Mathur, 685 F.3d 396, 398 (4th Cir. 2012) (citing 28 U.S.C. §


5
 A case announces a “new rule” if it “breaks new ground,” imposes a new obligation on the
Government or, put differently, “if the result was not dictated by precedent” when the
defendant’s conviction became final. Teague v. Lane, 489 U.S. 288, 301 (1989). A new rule of
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2255(f)(3)). Morejon has satisfied the third condition. Determining whether his Petition meets

the other two conditions requires an examination of the rules announced in Alleyne and

Descamps. Cf. id. at 397 (examining whether Padilla v. Kentucky, 559 U.S. 356 (2010),

recognized a new right that had been made retroactively applicable to cases on collateral review

“so as to enable [the prisoner] to file a timely motion under 28 U.S.C. § 2255” (emphasis

omitted)).

        1.     Alleyne

       In Alleyne, a jury convicted the defendant of using or carrying a firearm during a crime of

violence, in violation of 18 U.S.C. § 924(c)(1)(A). See 133 S. Ct. at 2155–56. That statute

imposes increasingly severe mandatory minimum prison sentences depending on whether a

firearm was “used or carried,” “brandished,” or “discharged” during the predicate crime. See id.

(citing 18 U.S.C. § 924(c)(1)(A)(i)–(iii)). The jury’s verdict form indicated “that Alleyne had

‘used or carried a firearm during and in relation to a crime of violence,’ but did not indicate a

finding that the firearm was ‘brandished.’” Id. at 2156 (internal brackets omitted). Alleyne’s

presentence report recommended a seven-year prison sentence on the 924(c) count, which

reflected the mandatory minimum prison sentence if the firearm had been “brandished.” Id.

Alleyne argued that he was subject to the five-year mandatory minimum sentence for “using or

carrying a firearm” because the jury clearly “did not find ‘brandishing’ beyond a reasonable

doubt.” Id. The district court overruled Alleyne’s objection and sentenced him to seven years on

that count. See id.



criminal procedure applies retroactively to cases on collateral review if it implicates
“fundamental fairness” and is “central to an accurate determination of innocence or guilt,” such
that its absence “creates an impermissibly large risk that the innocent will be convicted.” Id. at
311–13.

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       The court of appeals affirmed. See id. At the time, “brandishing” was a sentencing factor

that the court could find by a preponderance of the evidence without violating the defendant’s

Sixth Amendment right to a jury trial. See id. (citing Harris v. United States, 536 U.S. 545

(2002)). The Supreme Court took Alleyne’s case to decide if Harris should be overruled. Id. at

2155 (overruling Harris).

       Alleyne holds that any fact that triggers a mandatory minimum penalty is an “element” of

the offense that must be alleged in a charging document and proven beyond a reasonable doubt. 6

See 133 S. Ct. at 2156, 2160–61; cf. United States v. Bradley, 581 F. App’x 249, 253 (4th Cir.

2014) (per curiam) (finding plain error after Alleyne where “the threshold drug quantity . . . was

neither alleged in the indictment nor admitted by Bradley in connection with his guilty plea”).

This is indeed a “new” rule of criminal procedure, and it applies to convictions that were not

final when the Supreme Court decided Alleyne on June 17, 2013. See United States v. Strayhorn,

743 F.3d 917, 926 (4th Cir. 2014) (noting that Alleyne announced a “new rule for the conduct of

criminal prosecutions” that applies in all cases “pending on direct review or not yet final”

(quoting Griffith v. Kentucky, 479 U.S. 314, 328 (1987)); United States v. Frazier, 572 F. App’x

239, 242 n.3 (4th Cir. 2014) (same). But it has not been made retroactively applicable to cases on

collateral review. United States v. Stewart, 540 F. App’x 171, 172 n.* (4th Cir. 2013) (per

curiam); Oscar v. United States, No. 2:93cr131, 2015 WL 104727, at *2 (E.D. Va. Jan. 6, 2015);

Williams v. United States, No. 4:09cr39, 2014 WL 526692, at *4 (W.D. Va. Feb. 7, 2014)

(dismissing prisoner’s Alleyne claim on these grounds); see also Johnson v. Ponton, No. 13-

7824, --- F.3d ---, 2015 WL 924049, at *3 n.3 (4th Cir. Mar. 5, 2015) (discussing the different



6
 The Supreme Court still “recognize[s] a narrow exception to this general rule for the fact of a
prior conviction.” Alleyne, 133 S. Ct. at 2160 n.1 (citing Almendarez-Torrez v. United States,
523 U.S. 224 (1998)).
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considerations and standards for retroactive application of a new rule to cases on direct review

and those on collateral review). Because Alleyne is not retroactive for cases on collateral review,

section 2255(f)(3) does not apply. Morejon filed more than one year after his conviction became

final; thus, his claim is untimely. Cf. Mathur, 685 F.3d at 397 (holding that the prisoner’s § 2255

motion was untimely because he filed more than one year after his conviction became final and

the right asserted had not been made retroactively applicable to cases on collateral review);

United States v. Vasquez, Nos. 7:09cr15, 7:13cv80619, 2013 WL 5435825, at *3 (W.D. Va. Sept.

27, 2013) (Conrad, C.J.) (holding that “Alleyne cannot provide a basis to calculate the statutory

filing period for Vasquez’s motion under § 2255(f)(3)” because it did not apply to the facts of the

prisoner’s case, and dismissing the motion as untimely).

       Even if Alleyne were retroactive, the rule it announced simply does not apply to the facts

in Morejon’s case. See Vasquez, 2013 WL 5435825, at *2. Unlike Alleyne, Morejon gave up his

right to have a jury determine whether the Government could prove its case beyond a reasonable

doubt. By pleading guilty to Count One, Morejon expressly admitted what the Indictment

alleged—that he “conspired . . . to distribute five hundred (500) grams or more of a mixture and

substance containing a detectable amount of methamphetamine.” Indictment 1; see also Plea

Hr’g Tr. 15. That drug weight, along with Morejon’s one prior felony drug conviction, triggered

a mandatory minimum twenty-year prison sentence under 21 U.S.C. § 841(b)(1)(A). See Plea

Hr’g Tr. 18. Morejon testified that he read Count One, discussed the charge with his attorney,

fully understood the elements of the offense, knew the consequences if convicted of that offense

given his criminal history, and admitted that he in fact conspired to distribute at least 500 grams

of a mixture or substance containing methamphetamine. See Plea Hr’g Tr. 14–15 (elements); id.

at 16–19 (penalties); id. at 24–25 (factual basis and guilty plea); see also Plea Agmt. 1–2; id. at



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11. Morejon’s “knowing admission under oath required no independent judicial fact finding; the

district court simply sentenced him in accordance with [his] admitted conduct.” United States v.

Yancy, 725 F.3d 596, 602 (6th Cir. 2013).

        Morejon also alleges that he “didn’t fully understand that . . . pleading guilty to five (5)

but less than fifteen (15) kilograms of methamphetamine would subject him to a higher penalty

and then raise his guideline level.” Pet. 8. Those drug weights were relevant to Morejon’s base-

offense level under the advisory sentencing guidelines, not his mandatory minimum prison

sentence under 21 U.S.C. §§ 841 and 846. See Presentence Report 6, ECF No. 71 (citing

U.S.S.G. § 2D1.1(c)(2) (2009)). Even after Alleyne, a court may make factual findings to

determine the applicable sentencing guidelines, so long as those findings do not increase the

statutory penalties. See United States v. Benn, 572 F. App’x 167, 179–80 (4th Cir. 2014).

       Moreover, any allegation that Morejon did not understand the applicable mandatory

minimum penalty “directly contradict[s his] sworn statements made during a properly conducted

Rule 11 colloquy.” Nelson v. United States, No. 7:07cv141, 2007 WL 2344985, at *3 (W.D. Va.

Aug. 15, 2007) (Conrad, J.) (noting that, absent “extraordinary circumstances,” the court can

reject such allegations as “‘palpably incredible’ and ‘patently frivolous or false’” (quoting United

States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005)). Judge Wilson carefully explained that

under the plea agreement Morejon faced a “mandatory . . . period of not less than 20 years, up to

life” in prison if convicted on Count One and that “the best scenario for [him under] these

circumstances as to this particular count would be a mandatory period of 20 years” in prison. Id.

at 18–19. Judge Wilson also warned Morejon that the Court would have to impose a mandatory

minimum term of life in prison if he did not “comply with [his] side of the agreement.” Id. at 16–

17. Morejon testified that he understood “all the possible penalties” he faced if convicted on



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Count One. See id. at 18–19. Accordingly, Morejon does not allege any facts that would entitle

him to relief on his Alleyne claim. See Vasquez, 2013 WL 5435825, at *2–3.

        2.      Descamps

        Morejon also claims that his 1997 state-court conviction for selling cocaine “was an

illegal/invalid predicate” that “improperly enhanced” his mandatory minimum sentence under 21

U.S.C. §§ 841 and 851. See Pet. 10–13 (citing Descamps, 133 S. Ct. 2276). He argues that this

conviction “should not have counted” because the state-law offense’s elements are broader than

its federal “generic” counterpart. See id. at 10 (“[A]lthough a defendant could be convicted in a

[Florida] state court” for selling cocaine “without proof of mens rea, that same defendant could

not be convicted under Section 841(a)(1) in federal court.”).

        In Descamps, a jury convicted the defendant of being a felon in possession of a firearm,

in violation of 18 U.S.C. § 922(g). 133 S. Ct. at 2282. The Armed Career Criminal Act

(“ACCA”) mandates a fifteen-year minimum prison sentence “for a person who violates §

922(g) and ‘has three previous convictions . . . for a violent felony or serious drug offense.’” Id.

(quoting 18 U.S.C. § 924(e)(1)). The ACCA “defines a ‘violent felony’ to mean any felony,

whether state or federal, that ‘has as an element the use, attempted use, or threatened use of

physical force against the person of another,’ or that ‘is burglary, arson, or extortion . . . .’” Id.

(quoting 18 U.S.C. § 924(e)(2)(B)). It defines “serious drug offense” as a federal controlled

substance offense punishable by imprisonment of ten years or more or a state offense involving

the manufacture, distribution, or possession with intent to distribute a controlled substance that is

punishable by imprisonment of ten years or more. 18 U.S.C. § 924(e)(2)(A).

        Descamps clarified the existing framework for determining whether a defendant’s prior

conviction counts as one of the ACCA’s enumerated “generic” felonies, such as burglary, which



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sometimes are defined differently than “the offense as commonly understood.” 7 Id. at 2281, 2283

(citing Taylor v. United States, 495 U.S. 575 (1990); Shepard v. United States, 544 U.S. 13

(2005)). As before, “[t]he prior conviction qualifies as an ACCA predicate only if the statute’s

elements are the same as, or narrower than, those of the generic offense.” Id. at 2281, 2285.

Descamps clarified that courts may consult certain “extra-statutory” documents only when the

offense is defined “alternatively, with one statutory phrase corresponding to the generic crime

and another not.” Id. at 2285. In that case, the sentencing “court may look to the additional

documents to determine which of the statutory offenses (generic or non-generic) formed the

basis of the defendant’s [prior] conviction.” Id.

       The Supreme Court in Descamps did not announce a new rule or recognize a new right.

Ezell v. United States, --- F.3d ---, 2015 WL 294306, at *2–3 (9th Cir. Jan. 23, 2015); In re

Jackson, --- F.3d ---, 2015 WL 127370, at *3 (5th Cir. Jan. 8, 2015) (per curiam); United States

v. Davis, 751 F.3d 769, 775 (6th Cir. 2014); United States v. Montes, 570 F. App’x 830, 831

(10th Cir. 2014). But even if it had, the rule would not apply to convictions that were final on

June 20, 2013. The courts have not made Descamps retroactively applicable to cases on

collateral review. In re Jackson, 2015 WL 127370, at *3; United States v. McCloud, No.

1:01cr14, 2014 WL 1370333, at *2 (W.D. Va. Apr. 8, 2014). Thus, Morejon’s Descamps claim

is untimely because section 2255(f)(3) does not apply, and he filed his petition more than one

year after his conviction became final.

       Further, Descamps does not apply here because Morejon was convicted and sentenced

under 21 U.S.C. §§ 841 and 846, “a completely different statutory scheme . . . which does not

fall under the ACCA.” United States v. Avila, 770 F.3d 1100, 1106 (4th Cir. 2014). A person

7
  Descamps interpreted only the ACCA’s “violent felony” clause, not its “serious drug offense”
clause. See generally 133 S. Ct. at 2282–93.
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convicted of conspiring to distribute at least 500 grams of a substance containing

methamphetamine faces a mandatory minimum ten-year prison sentence. 21 U.S.C. §§

841(b)(1)(A), 846 (2006). “That minimum doubles to twenty years for defendants previously

convicted of a ‘felony drug offense.’” Burgess v. United States, 553 U.S. 124, 126 (2008)

(quoting 21 U.S.C. § 841)). The term “felony drug offense” means an offense that is punishable

by imprisonment for more than one year under any state, federal, or foreign law “that prohibits or

restricts conduct relating to narcotic drugs.” 8 21 U.S.C. §§ 802(17), 802(44); accord Burgess,

553 U.S. at 126 (holding that the “term ‘felony drug offense’ contained in § 841(b)(1)(A)’s

provision for a 20-year minimum sentence . . . is defined exclusively by § 802(44)”).

       Morejon admits that he was convicted by a Florida court in 1997 of selling cocaine in

violation of state code section 893.13. See Plea Agmt. 3–4; Pet. 10, 13; Pet. Ex. B, ECF No. 95-

3. That offense is punishable by imprisonment for more than one year under a state law

restricting conduct related to a narcotic drug. See Fla. Stat. § 893.13(1)(a)(1) (1997) (citing Fla.

Stat. §§ 775.82, 893.03(2)(a) (1997)). Thus, Morejon’s prior conviction qualified as a “felony

drug offense” that properly doubled his mandatory minimum sentence under 21 U.S.C. §

841(b)(1)(A). See Burgess, 553 U.S. at 126–27; United States v. Balcom, Nos. 4:02cr52,

4:14cv306, 2014 WL 3446984, at *1 (N.D. Fla. July 14, 2014) (holding that the defendant’s

prior convictions for possessing cocaine were “felony drug offenses” under 21 U.S.C. § 841).

Accordingly, Morejon does not allege any facts that would entitle him to relief on this claim.

B.     Waiver

       The Government also argues that Morejon waived his right to collaterally attack his

sentence under the terms of his plea agreement. See Mot. to Dismiss 6–7. A criminal defendant

8
 The ACCA’s definition of “serious drug offense” applies to a considerably narrower scope of
criminal offenses. Compare 18 U.S.C. § 924(e)(2)(A), with 21 U.S.C. § 802(44).
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may waive his right to attack his conviction and sentence collaterally, so long as that wavier is

knowing and voluntary. Lemaster, 403 F.3d at 220; United States v. Saint-Jean, 684 F. Supp. 2d

767, 775 (W.D. Va. 2010) (Conrad, J.). Courts will enforce such waivers against any issue

falling within the waiver’s scope. 9 See id.; United States v. Brantley, 546 F. App’x 163, 164 (4th

Cir. 2013) (per curiam); Saint-Jean, 684 F. Supp. 2d at 775–76. “Generally, if a district court

fully questions a defendant during the Rule 11 hearing regarding his waiver of collateral attack

rights, the waiver is both valid and enforceable.” Saint-Jean, 684 F. Supp. 2d at 775.

        Those requirements were easily met here, and Morejon does not allege otherwise. See

generally Def. Reply Br. 1–5. Morejon’s written plea agreement contains a clear and broadly

worded waiver clause: “I waive any right I may have to collaterally attack, in any future

proceeding, any order issued in this matter and agree that I will not file any document which

seeks to disturb any such order.” Plea Agmt. 7 (emphasis omitted). Morejon initialed the bottom

of this page and signed the agreement’s final page, indicating that he fully understood and

voluntarily agreed to its terms. See id. at 7, 12.

        Judge Wilson also addressed the terms of the plea agreement, including its waiver clause,

at Morejon’s Rule 11 hearing. 10 See Plea Hr’g Tr. 2–11, 22–23. Morejon testified that he


9
  Courts recognize exceptions for a “narrow class of claims” that cannot be waived or for cases
where the Government arguably breached the terms of the agreement. See Lemaster, 403 F.3d at
220 n.2 (noting that a defendant generally cannot waive his right to collaterally attack a sentence
above the statutory maximum or based on constitutionally impermissible factors, such as race);
Saint-Jean, 684 F. Supp. 2d at 775–76 (noting an exception if the Government allegedly
breached the terms of a plea agreement). Morejon’s pleadings, liberally construed, do not suggest
that either exception applies here.
10
        The Court: Do you also understand that you’re waiving your right to collaterally
        attack your plea and sentence? Has that been fully explained to you, and do you
        understand that as well?
        The Defendant: Yes, Your Honor.
Plea Hr’g Tr. 22–23.
                                                     14
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understood and voluntarily decided to waive his right to collaterally attack his plea and sentence.

See id. at 14, 22–23, 26. This testimony “conclusively establishes” that Morejon’s collateral-

attack waiver is valid and enforceable. Saint-Jean, 684 F. Supp. 2d at 775. The basic claim that

Morejon raises on collateral attack—that he was not subject to a mandatory minimum twenty-

year prison sentence on Count One—falls squarely within the scope of the agreement’s waiver.

Thus, Morejon cannot raise his Alleyne and Descamps claims in a § 2255 petition even if those

decisions could otherwise provide relief. Cf. United States v. Johnson, 410 F.3d 137, 153 (4th

Cir. 2005) (“[T]he possibility of a favorable change in the law occurring after a plea is one of the

normal risks that accompanies a guilty plea.” (internal brackets omitted)).

                                          IV. Conclusion

       Neither Alleyne nor Descamps provides the starting point for calculating the statutory

filing period in Morejon’s case. Instead, the one-year clock for Morejon to file his section 2255

petition began to run on September 30, 2010, the date on which the judgment of his conviction

became final. His petition is untimely because he filed it more than three years later, on April 22,

2014. The record also conclusively shows that Morejon knowingly and voluntarily waived his

right to collaterally attack his sentence when he pled guilty with a written plea agreement, and

that his Alleyne and Descamps claims fall within the waiver’s scope. Therefore, I recommend

that the Court DENY Morejon’s motion for an evidentiary hearing, GRANT the Government’s

motion to dismiss, ECF No. 99, DISMISS Morejon’s Petition, ECF No. 95, and STRIKE this

case from the docket.

                                         Notice to Parties

       Notice is hereby given to the parties of the provisions of 28 U.S.C. § 636(b)(1)(C):

            Within fourteen days after being served with a copy [of this Report and
       Recommendation], any party may serve and file written objections to such

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       proposed findings and recommendations as provided by rules of court. A judge of
       the court shall make a de novo determination of those portions of the report or
       specified proposed findings or recommendations to which objection is made. A
       judge of the court may accept, reject, or modify, in whole or in part, the findings
       or recommendations made by the magistrate judge. The judge may also receive
       further evidence or recommit the matter to the magistrate judge with instructions.

Failure to file timely written objections to these proposed findings and recommendations within

14 days could waive appellate review. At the conclusion of the 14 day period, the Clerk is

directed to transmit the record in this matter to the Honorable Glen E. Conrad, Chief United

States District Judge.

       The Clerk shall send certified copies of this Report and Recommendation to all counsel

of record and unrepresented parties.

                                             ENTER: March 6, 2015



                                             Joel C. Hoppe
                                             United States Magistrate Judge




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